                                                                                FILED
                                                                           JN OPEN COURT

                        IN THE UNITED STATES DISTRICT qOU^T
                        FOR THE EASTERN DISTRICT OF VII GIN lA JUN 2 5 2019
                                         Norfolk Division

                                                                      CLERK. U.S. DISTRICT COURT
UNITED STATES OF AMERICA                                                     NORFOLK, VA


               V.                                    Criminal No. 2:19crl07


TIMOTHY GARY WILLIAMS


                       Defendant


                                             ORDER


       Upon the motion of the defendant, TIMOTHY GARY WILLIAMS, by and through his

counsel, and with the agreement of the government, by and through its counsel, it is hereby,

                                   1. Discoverv and Inspection

       ORDERED pursuant to Fed. R. Crim. P. 16(a), that no later than seven calendar days

before trial, unless for good cause shown:

       1. The government shall disclose to the defendant and make available for inspection,

copying, or photographing: any relevant written or recorded statements made by the defendant,

or copies thereof, within the possession, custody, or control of the government, the existence of

which is known, or by the exercise of due diligence may become known,to the attorney for the

government; that portion of any written record containing the substance of any relevant oral

statement made by the defendant whether before or after arrest in response to interrogation by

any person then known to the defendant to be a government agent; recorded testimony of the

defendant before a grand jury which relates to the offense charged; and the substance of any

other relevant oral statement made by the defendant whether before or after arrest in response to

interrogation by any person then known by the defendant to be a government agent if the

government intends to use that statement at trial.
